           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 1 of 7
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      2              THE COURT:   I'm going to decide this matter, and I will

      3      explain my decision.     The transcript will be a record of the

      4      decision and you must order it.       It's possible I'll write this

      5      up, but I do think this is an urgent matter and I should tell

      6      you my decision, so I will.

      7              First, I've concluded for the reasons described by the

      8      Second Circuit in Mapp v. Reno, 241 F. 3d 221 at 230, a 2001

      9      Second Circuit case, that District Courts do have the power to

03:23 10     order the release of immigration detainees on bail.          I don't

     11      think that the REAL ID Act alters that fundamental authority.

     12              As I said earlier, I believe that the Glynn v. Donnelly

     13      case, the First Circuit case, 470 F.2d 95, 98 is

     14      distinguishable in a material respect.        In Glynn, the First

     15      Circuit did hold that in certain extraordinary circumstances a

     16      District Court could release a detained petitioner before the

     17      petition was decided on the merits.        It created a higher

     18      standard or stated a higher standard than the Second Circuit in

     19      Mapp.    In Glynn, the petitioner was somebody who had been

03:24 20     convicted of a crime.     I believe his appeal had been denied,

     21      and then he was petitioning for habeas corpus, but he had no

     22      presumption of innocence.

     23              In this case, it's important to remember we're talking

     24      about a civil detainee, somebody who has never been charged,

     25      let alone convicted of any crime.       And I think that the Mapp
           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 2 of 7
                                                                                    2




      1      test or something similar or perhaps less is appropriate.        As I

      2      said, the Mapp test where the court in Mapp said -- I don't

      3      know -- somebody perhaps didn't mute their phone because,

      4      unless I'm hearing the court reporter, there's something

      5      clicking, banging.

      6            But the court in Mapp said the court considering a habeas

      7      petitioner's fitness for bail must inquire into whether the

      8      habeas petitioner raises substantial claims and whether

      9      extraordinary circumstances exist to make the grant of bail

03:25 10     necessary to make the habeas remedy effective.         And I would add

     11      to that that, even if those requirements are met, the court

     12      would have to be satisfied that the petitioner would not be a

     13      danger to the community, reasonably assured that the petitioner

     14      would not be a danger to the community or not would flee if

     15      released on reasonable feasible conditions.

     16            I do find, without expressing any prediction of how the

     17      merits will be resolved, that a substantial claim or question

     18      is raised by the petitioner's habeas petition.         The initial

     19      description by ICE of the reason for his detention -- well, the

03:26 20     reason for his detention sent to petitioner's counsel in an

     21      email was that in effect -- well, that he was likely to be

     22      unable -- the petitioner was likely to be unable to receive an

     23      approved I-601A because he did not appear at his removal

     24      hearing.   He was ordered removed in absentia.        The essence of

     25      this, the way it was stated initially indicated that ICE was
           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 3 of 7
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      1      under the impression or misimpression that the petitioner is

      2      ineligible for an I-601A.

      3            While I've commended Mr. Lyons and Mr. Charles on many

      4      things they've done, since June 2018, I have found ICE has

      5      repeatedly failed to understand its own regulations as I held

      6      in 2018.   And I learned, to my dismay, in the fall of 2019,

      7      when the witness responsible for much of the national program

      8      for many years testified that he didn't understand -- he didn't

      9      realize there was a regulation that required that everybody

03:28 10     detained more than six months had to be interviewed.             It would

     11      be sadly consistent with the pattern in this case if ICE

     12      misunderstood whether somebody who failed to appear for a

     13      removal hearing was ineligible for an I-601A.

     14            And indeed it appears that ICE's position has evolved and

     15      they don't take that position anymore.        Mr. Lyons has

     16      articulated in his declaration other reasons for the detention,

     17      but there is the question of whether those reasons were in his

     18      mind when he decided to detain the petitioner or whether the

     19      affidavit that appears to have been drafted by a lawyer has

03:29 20     rationalizations that weren't part of the decisionmaking

     21      process at issue.     That's an issue that I may need to hear

     22      testimony on.    I also -- but I do think that there's a

     23      substantial question, a substantial claim.

     24            In addition, I find that extraordinary circumstances exist

     25      that make the grant of bail necessary to make the habeas
           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 4 of 7
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      1      effective, to make the habeas remedy effective.         To be blunt,

      2      we're living in the midst of a coronavirus pandemic.             Some

      3      infected people die; not all, but some infected people die.               If

      4      the petitioner is infected and dies, the case will be moot.

      5      The habeas remedy will be ineffective.

      6            And being in a jail enhances risk.       Social distancing is

      7      difficult or impossible.      Washing hands repeatedly may be

      8      difficult.    There is, it appears not to be disputed, one

      9      court -- one Plymouth County jail employee who has been

03:31 10     infected, and there's a genuine risk that this will spread

     11      throughout the jail.     Again, the petitioner is in custody with

     12      people charged with or convicted of crimes.         He's not been

     13      charged or convicted of anything.

     14            I've also considered what I ordinarily consider in making

     15      or reviewing bail decisions in criminal cases.         There's no

     16      contention that the petitioner will be dangerous to any

     17      individual or the community if he's released on reasonable

     18      conditions.

     19            ICE does contend that he would be a risk of flight.               That

03:32 20     is based on the fact that he missed one immigration hearing at

     21      which his removal was ordered and apparently did not tell ICE

     22      of his change of address.      And he is facing a serious risk of

     23      being removed.    He may not prevail on the habeas petition.             And

     24      if he does, he may not get a provisional waiver.

     25            However, there's no indication that the petitioner has
           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 5 of 7
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      1      anyplace to go.    Being among other people, say, in a homeless

      2      shelter is very dangerous, like being in a jail.          There's no

      3      indication that he has any relatives or others who might take

      4      him in other than his wife.      And I am ordering that he live

      5      with his wife in Lawrence, Massachusetts; that he stay in their

      6      residence, except if there is a medical need for him to leave;

      7      and, unless it's a genuine emergency, he would need the

      8      permission of ICE to leave.      And he is to be on electronic

      9      monitoring, so if he leaves the residence when he hasn't been

03:33 10     authorized to leave, ICE would know that and, if appropriate,

     11      could come back to me to revoke his release.

     12            In addition, there are certain equities that favor the

     13      release of the petitioner.      He's now been detained since

     14      September 4, 2019.     On January 27, the motion was filed to

     15      enjoin his removal.     As I indicated in the course of the

     16      argument, with the assent of petitioner's counsel, class

     17      counsel, ICE has repeatedly been given extensions of time to

     18      respond to the motion.

     19            On January 31, 2020, the parties filed a joint motion to

03:35 20     give ICE until February 14 to confer, and then on February 13,

     21      the respondents filed an unopposed motion for an extension of

     22      time to file their opposition until February 20, which I

     23      allowed.   Then I was asked not to schedule a hearing in this

     24      case until after March 25 because Mr. Lyons would not be

     25      available from March 10 to 24.       I accommodated that.        And I was
           Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 6 of 7
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      1      told that local counsel, Ms. Piemonte, would be on trial until

      2      April 6.   On March 19 I allowed the respondent's motion for

      3      respondents to file a sur-reply.       And though it's possible,

      4      except for ICE asking for and receiving extensions of time to

      5      respond or file a sur-reply, that there would have been a

      6      hearing and a decision on this case earlier.

      7            So essentially we're in a circumstance where an individual

      8      who has not been accused of any crime has been detained for --

      9      I think it comes to about six and a half months.          Part of that

03:36 10     is because I've stayed his removal pending the decision on his

     11      motion to enjoin removal, but because of accommodations to ICE,

     12      that wasn't fully briefed until less than a week ago, and I had

     13      been asked to defer to Mr. Lyons' availability, which I did.

     14            So for all of those reasons, I'm ordering that the

     15      petitioner be released no later than tomorrow, March 26, 2020,

     16      on the conditions I articulated and will memorialize in a brief

     17      order.

     18            I'm ordering counsel for ICE to inform me when he has been

     19      released, and if there's some problem with implementing this

03:38 20     order by tomorrow, you'll have to let me know promptly.

     21      Petitioners' counsel I'm directing, ordering, to inform the

     22      petitioner and his wife of my decision, including the

     23      requirements that he live with his wife and that he be on

     24      electronic monitoring.      And he'll have to confirm for ICE,

     25      he'll have to provide ICE her address if they don't have it and
     Case 1:18-cv-10225-MLW Document 507-1 Filed 03/26/20 Page 7 of 7
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 1     confirm her willingness to have her husband with her for the

 2     duration of this case.

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